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                                 9                         UNITED STATES DISTRICT COURT
                                 10
                                                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 11
                                       CRYSTAL REDICK, an individual,           CASE NO.:
                                 12
                                                           Plaintiff,
3055 Wilshire Blvd, 12th Floor




                                 13
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                                                                                      COMPLAINT
                                             v.                                    1. VIOLATIONS OF THE
                                 14
                                                                                      AMERICANS WITH
                                 15    FARM, INC. d/b/a OSAWA, a
                                                                                      DISABILITIES ACT OF 1990, 42
                                       California corporation; and DOES 1
                                 16                                                   U.S.C. § 12181
                                       to 10, inclusive,
                                                                                   2. VIOLATIONS OF THE UNRUH
                                 17                                                   CIVIL RIGHTS ACT,
                                                          Defendants.
                                 18                                                   CALIFORNIA CIVIL CODE § 51
                                                                                      DEMAND FOR JURY TRIAL
                                 19
                                 20    Plaintiff Crystal Redick (“Plaintiff”) brings this action based upon personal
                                 21    knowledge as to herself and her own acts, and as to all other matters upon
                                 22    information and belief, based upon, inter alia, the investigations of her attorneys.
                                 23                              NATURE OF THE ACTION
                                 24          1.     Plaintiff is a visually impaired and legally blind individual who
                                 25    requires screen-reading software to read website content using her computer.
                                 26    Plaintiff uses the terms “blind” or “visually impaired” to refer to all people with
                                 27    visual impairments who meet the legal definition of blindness in that they have a
                                 28    visual acuity with correction of less than or equal to 20 x 200. Some blind people
                                                                                 1
                                                      COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     who meet this definition have limited vision. Others have no vision.
                                 2           2.     Plaintiff brings this Complaint to secure redress against Defendant The
                                 3     Farm, Inc. d/b/a Osawa, (hereafter jointly “Defendant”), respectively, and DOES 1-
                                 4     10, for its failure to design, construct, maintain, and operate its website to be fully
                                 5     and equally accessible to and independently usable by Plaintiff and other blind or
                                 6     visually impaired individuals. Defendant’s denial of full and equal access to its
                                 7     website, and therefore denial of its products and services offered thereby and in
                                 8     conjunction with its physical location, is a violation of Plaintiff’s rights under the
                                 9     Americans with Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act
                                 10    (“UCRA”).
                                 11          3.     Because Defendant’s website, https://www.theosawa.com/ (the
                                 12    “website” or “Defendant’s website”), is not fully or equally accessible to blind and
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                                 13    visually impaired consumers in violation of the ADA, Plaintiff seeks a permanent
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                                 14    injunction to cause a change in Defendant’s corporate policies, practices, and
                                 15    procedures so that Defendant’s website will become and remain accessible to
                                 16    Plaintiff and other blind and visually impaired consumers.
                                 17                                      THE PARTIES
                                 18          4.     Plaintiff, at all times relevant and as alleged herein, is a resident of the
                                 19    County of Los Angeles. Plaintiff is a legally blind, visually impaired, handicapped
                                 20    person, and a member of a protected class of individuals under the ADA, pursuant
                                 21    to 42 U.S.C. § 12102(1)-(2), and the regulations implementing the ADA set forth
                                 22    at 28 CFR §§ 36.101 et seq.
                                 23          5.     Defendant is a California corporation with its headquarters in
                                 24    Pasadena, California. Defendant’s servers for the website are in the United States.
                                 25    Defendant conducts a large amount of its business in California. The physical
                                 26    location where Defendant’s goods and services are sold to the public constitutes a
                                 27    place of public accommodation. Defendant’s restaurant provides to the public
                                 28    important goods and services. Defendant’s website provides consumers with access
                                                                              2
                                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     to “local fresh authentic Japanese cuisine for everyone.” Consumers can access
                                 2     information regarding Defendant’s menu, contact details, biographical details,
                                 3     advanced reservations, social media webpages, and much more.
                                 4           6.     Plaintiff is unaware of the true names, identities, and capacities of each
                                 5     Defendant sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this
                                 6     complaint to allege the true names and capacities of DOES 1 to 10 if and when
                                 7     ascertained. Plaintiff is informed and believes, and thereupon alleges, that each
                                 8     Defendant sued herein as a DOE is legally responsible in some manner for the
                                 9     events and happenings alleged herein and that each Defendant sued herein as a DOE
                                 10    proximately caused injuries and damages to Plaintiff as set forth below.
                                 11          7.     Defendant’s restaurant is a public accommodation within the
                                 12    definition of Title III of the ADA, 42 U.S.C. § 12181(7).
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                                 13          8.     The website, https://www.theosawa.com/, is a service, privilege, or
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                                 14    advantage of Defendant’s services, products, and location.
                                 15                             JURISDICTION AND VENUE
                                 16          9.     Defendant is subject to personal jurisdiction in this District. Defendant
                                 17    has been and continues to commit the acts or omissions alleged herein in the Central
                                 18    District of California, that caused injury, and violated rights prescribed by the ADA
                                 19    and UCRA, to Plaintiff. A substantial part of the acts and omissions giving rise to
                                 20    Plaintiff’s claims occurred in the Central District of California. Specifically, on
                                 21    several separate occasions, Plaintiff has been denied the full use and enjoyment of
                                 22    the facilities, goods, and services of Defendant’s website in Los Angeles County.
                                 23    The access barriers Plaintiff has encountered on Defendant’s website have caused
                                 24    a denial of Plaintiff’s full and equal access multiple times in the past and now deter
                                 25    Plaintiff on a regular basis from accessing Defendant’s website. Similarly, the
                                 26    access barriers Plaintiff has encountered on Defendant’s website have impeded
                                 27    Plaintiff’s full and equal enjoyment of goods and services offered at Defendant’s
                                 28    brick-and-mortar location.
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                                 1           10.    This Court also has subject-matter jurisdiction over this action
                                 2     pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise
                                 3     under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.
                                 4           11.    This Court has personal jurisdiction over Defendant because it
                                 5     conducts and continues to conduct a substantial and significant amount of business
                                 6     in the State of California, County of Los Angeles, and because Defendant’s
                                 7     offending website is available across California.
                                 8           12.    Venue is proper in the Central District of California pursuant to 28
                                 9     U.S.C. § 1391 because Plaintiff resides in this District, Defendant conducts and
                                 10    continues to conduct a substantial and significant amount of business in this District,
                                 11    Defendant is subject to personal jurisdiction in this District, and a substantial
                                 12    portion of the conduct complained of herein occurred in this District.
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                                 13      THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET
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                                 14          13.    The Internet has become a significant source of information, a portal,
                                 15    and a tool for conducting business, doing everyday activities such as shopping,
                                 16    learning, banking, researching, as well as many other activities for sighted, blind,
                                 17    and visually impaired persons alike.
                                 18          14.    In today's tech-savvy world, blind and visually impaired people have
                                 19    the ability to access websites using keyboards in conjunction with screen access
                                 20    software that vocalizes the visual information found on a computer screen. This
                                 21    technology is known as screen-reading software.          Screen-reading software is
                                 22    currently the only method a blind or visually impaired person may use to
                                 23    independently access the internet. Unless websites are designed to be read by
                                 24    screen-reading software, blind and visually impaired persons are unable to fully
                                 25    access websites, and the information, products, and services contained thereon.
                                 26          15.    Blind and visually impaired users of Windows operating system-
                                 27    enabled computers and devices have several screen-reading software programs
                                 28    available to them. Some of these programs are available for purchase and other
                                                                             4
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                                 1     programs are available without the user having to purchase the program separately.
                                 2     Job Access With Speech, otherwise known as “JAWS,” is currently the most
                                 3     popular, separately purchased and downloaded screen-reading software program
                                 4     available for a Windows computer.
                                 5           16.    For screen-reading software to function, the information on a website
                                 6     must be capable of being rendered into text. If the website content is not capable
                                 7     of being rendered into text, the blind or visually impaired user is unable to access
                                 8     the same content available to sighted users.
                                 9           17.    The international website standards organization, the World Wide
                                 10    Web Consortium, known throughout the world as W3C, has published Success
                                 11    Criteria for version 2.1 of the Web Content Accessibility Guidelines ("WCAG 2.1"
                                 12    hereinafter). WCAG 2.1 are well-established guidelines for making websites
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                                 13    accessible to blind and visually impaired people. These guidelines are adopted,
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                                 14    implemented, and followed by most large business entities who want to ensure their
                                 15    websites are accessible to users of screen-reading software programs. Though
                                 16    WCAG 2.1 has not been formally adopted as the standard for making websites
                                 17    accessible, it is one of, if not the most, valuable resource for companies to operate,
                                 18    maintain, and provide a website that is accessible under the ADA to the public.
                                 19          18.    Within this context, the Ninth Circuit has recognized the viability of
                                 20    ADA claims against commercial website owners/operators with regard to the
                                 21    accessibility of such websites. Robles v. Domino’s Pizza, LLC, 913 F.3d 898, 906-
                                 22    06 (9th Cir. 2019), cert. denied, 140 S.Ct. 122, 206 L. Ed. 2d 41 (2019). This is in
                                 23    addition to the numerous courts that have already recognized such application.
                                 24          19.    Each of Defendant’s violations of the Americans with Disabilities Act
                                 25    is likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights
                                 26    Act provides that any violation of the ADA constitutes a violation of the Unruh
                                 27    Civil Rights Act. Cal. Civ. Code § 51(f).
                                 28
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                                 1           20.    Further, Defendant’s actions and inactions denied Plaintiff full and
                                 2     equal access to their accommodations, facilities, and services.         A substantial
                                 3     motivating reason for Defendant to deny Plaintiff access was the perception of
                                 4     Plaintiff’s disability.     Defendant’s denial of Plaintiff’s accessibility was a
                                 5     substantial motivating reason for Defendant’s conduct. Plaintiff was harmed due
                                 6     to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor
                                 7     in causing the lack of access to Plaintiff. Unruh Civil Rights Act, Cal. Civ. Code §
                                 8     51.
                                 9           21.    Inaccessible or otherwise non-compliant websites pose significant
                                 10    access barriers to blind and visually impaired persons.              Common barriers
                                 11    encountered by blind and visually impaired persons include, but are not limited to,
                                 12    the following:
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                                 13                 a. A text equivalent for every non-text element is not provided;
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                                 14                 b. Title frames with text are not provided for identification and
                                 15                     navigation;
                                 16                 c. Equivalent text is not provided when using scripts;
                                 17                 d. Forms with the same information and functionality as for sighted
                                 18                     persons are not provided;
                                 19                 e. Information about the meaning and structure of content is not
                                 20                     conveyed by more than the visual presentation of content;
                                 21                 f. Text cannot be resized without assistive technology up to 200
                                 22                     percent without loss of content or functionality;
                                 23                 g. If the content enforces a time limit, the user is not able to extend,
                                 24                     adjust or disable it;
                                 25                 h. Web pages do not have titles that describe the topic or purpose;
                                 26                 i. The purpose of each link cannot be determined from the link text
                                 27                     alone or from the link text and its programmatically determined link
                                 28                     context;
                                                                        6
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                                 1                 j. One or more keyboard operable user interface lacks a mode of
                                 2                     operation where the keyboard focus indicator is discernible;
                                 3                 k. The default human language of each web page cannot be
                                 4                     programmatically determined;
                                 5                 l. When a component receives focus, it may initiate a change in
                                 6                     context;
                                 7                 m. Changing the setting of a user interface component may
                                 8                     automatically cause a change of context where the user has not been
                                 9                     advised before using the component;
                                 10                n. Labels or instructions are not provided when content requires user
                                 11                    input;
                                 12                o. In content which is implemented by using markup languages,
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                                 13                    elements do not have complete start and end tags, elements are not
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                                 14                    nested according to their specifications, elements may contain
                                 15                    duplicate attributes and/or any IDs are not unique;
                                 16                p. Inaccessible Portable Document Format (PDFs); and
                                 17                q. The name and role of all User Interface elements cannot be
                                 18                    programmatically determined; items that can be set by the user
                                 19                    cannot be programmatically set; and/or notification of changes to
                                 20                    these items is not available to user agents, including assistive
                                 21                    technology.
                                 22                               FACTUAL BACKGROUND
                                 23          22.   Defendant offers the https://www.theosawa.com/ website to the
                                 24    public. The website offers features which should allow all consumers to access the
                                 25    goods and services which Defendant offers in connection with its physical location.
                                 26    The goods and services offered by Defendant include, but are not limited to, the
                                 27    following: tapas such as edamame, yuzu daikon, tako wasabi, potato croquettes,
                                 28    crunchy cucumber, free range chicken karaage with sweet chili, agedashi tofu,
                                                                            7
                                                    COMPLAINT AND DEMAND FOR JURY TRIAL
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                                 1     eggplant with nikumiso, shiitake tempura stuffed with shrimp, salmon skin salad,
                                 2     shishito tempura stuffed with spicy tuna, fresh mizuna daikon salad, saba nanban
                                 3     zuke, rainbow sashimi salad, yellowtail carpaccio with jalapeno ponzu, and nama
                                 4     daki carpaccio; sushi & sashimi omakase sashimi, omakase sushi with miso soup,
                                 5     sushi deluxe with miso soup, sushi lunch with miso soup, and chirashi with udon;
                                 6     rice bowls & noodles such as beef curry with Kurobuta pork katsu, barbeque eel
                                 7     don, mini curry with chicken karaage, uni udon, wakame udon, shrimp tempura
                                 8     udon, nabeyaki udon, and beef udon; and bento boxes such as shokado bento,
                                 9     makunouchi bento, and soy glazed black cod bento; and desserts such as yuzu jelly,
                                 10    mango pudding, and black sesame almond milk panna cotta.              Furthermore,
                                 11    Defendant’s website allows consumers to access information regarding Defendant’s
                                 12    menu, contact details, biographical details, advanced reservations, social media
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                                 13    webpages, and much more.
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                                 14          23.    Based on information and belief, it is Defendant’s policy and practice
                                 15    to deny Plaintiff, along with other blind or visually impaired users, access to
                                 16    Defendant’s website, and to therefore specifically deny the goods and services that
                                 17    are offered and integrated within Defendant’s restaurant. Due to Defendant’s
                                 18    failure and refusal to remove access barriers on its website, Plaintiff and other
                                 19    visually impaired persons have been and are still being denied equal and full access
                                 20    to Defendant’s restaurant and the numerous goods, services, and benefits offered to
                                 21    the public through Defendant’s website.
                                 22    DEFENDANT’S BARRIERS ON UNRUH CIVIL RIGHTS ACT, CAL. CIV.
                                 23                      CODE § 51(f) DENY PLAINTIFF ACCESS
                                 24          24.    Plaintiff is a visually impaired and legally blind person, who cannot
                                 25    use a computer without the assistance of screen-reading software. However,
                                 26    Plaintiff is a proficient user of the JAWS or NV ACCESS screen-reader(s) as well
                                 27    as Mac’s VoiceOver and uses it to access the internet.        Plaintiff has visited
                                 28
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                                 1     https://www.theosawa.com/ on several separate occasions using the JAWS and/or
                                 2     VoiceOver screen-readers.
                                 3           25.    During Plaintiff’s numerous visits to Defendant’s website, Plaintiff
                                 4     encountered multiple access barriers which denied Plaintiff full and equal access to
                                 5     the facilities, goods, and services offered to the public and made available to the
                                 6     public on Defendant’s website. Due to the widespread access barriers Plaintiff
                                 7     encountered on Defendant’s website, Plaintiff has been deterred, on a regular basis,
                                 8     from accessing Defendant’s website. Similarly, the access barriers Plaintiff has
                                 9     encountered on Defendant’s website have deterred Plaintiff from visiting
                                 10    Defendant’s physical location.
                                 11          26.    While attempting to navigate Defendant’s website, Plaintiff
                                 12    encountered multiple accessibility barriers for blind or visually impaired people that
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                                 13    include, but are not limited to, the following:
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                                 14                 a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text
                                 15                    is invisible code embedded beneath a graphic or image on a website
                                 16                    that is read to a user by a screen-reader. For graphics or images to
                                 17                    be fully accessible for screen-reader users, it requires that alt-text
                                 18                    be coded with each graphic or image so that screen-reading
                                 19                    software can speak the alt-text to describe the graphic or image
                                 20                    where a sighted user would just see the graphic or image. Alt-text
                                 21                    does not change the visual presentation, but instead a text box
                                 22                    shows when the cursor hovers over the graphic or image. The lack
                                 23                    of alt-text on graphics and images prevents screen-readers from
                                 24                    accurately vocalizing a description of the image or graphic;
                                 25                 b. Empty Links that contain No Text causing the function or purpose
                                 26                    of the link to not be presented to the user. This can introduce
                                 27                    confusion for keyboard and screen-reader users;
                                 28                 c. Redundant Links where adjacent links go to the same URL address
                                                                             9
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                                 1                    which results in additional navigation and repetition for keyboard
                                 2                    and screen-reader users; and
                                 3                 d. Linked Images missing alt-text, which causes problems if an image
                                 4                    within a link does not contain any descriptive text and that image
                                 5                    does not have alt-text. A screen reader then has no content to
                                 6                    present the user as to the function of the link, including information
                                 7                    or links for and contained in PDFs.
                                 8          27.    Recently in 2022, Plaintiff attempted to do business with Defendant
                                 9    on Defendant’s website and Plaintiff encountered barriers to access on Defendant’s
                                 10   website.
                                 11         28.    Despite past and recent attempts to do business with Defendant on its
                                 12   website, the numerous access barriers contained on the website and encountered by
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                                 13   Plaintiff, have denied Plaintiff full and equal access to Defendant’s website.
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                                 14   Plaintiff, as a result of the barriers on Defendant’s website, continues to be deterred
                                 15   from accessing Defendant’s website. Likewise, based on the numerous access
                                 16   barriers Plaintiff has been deterred and impeded from the full and equal enjoyment
                                 17   of goods and services offered in Defendant’s restaurant and from making purchases
                                 18   at such physical location.
                                 19           DEFENDANT’S WEBSITE HAS A SUFFICIENT NEXUS TO
                                 20        DEFENDANT’S RESTAURANT LOCATION TO SUBJECT THE
                                 21      WEBSITE TO THE REQUIREMENTS OF THE AMERICANS WITH
                                 22                                  DISABILITIES ACT
                                 23         29.    In the Ninth Circuit a denial of equal access to a website can support
                                 24   an ADA claim if the denial has prevented or impeded a visually impaired plaintiff
                                 25   from equal access to, or enjoyment of, the goods and services offered at the
                                 26   defendant’s physical facilities. See Martinez v. San Diego County Credit Union, 50
                                 27   Cal. App. 5th, 1048, 1063 (2020) (citing Robles v. Domino’s Pizza, LLC, 913 F.3d
                                 28   898, 905-06 (9th Cir. 2019).
                                                                     10
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                                 1          30.    Defendant’s website is subject to the ADA because the cuisine that it
                                 2    offers on the website can be accessed in Defendant’s physical restaurant. Thus,
                                 3    since the website “facilitate[s] access to the goods and services of a place of public
                                 4    accommodation”, the website falls within the protection of the ADA because the
                                 5    website “connects customers to the goods and services of [Defendant’s] physical”
                                 6    restaurant. Id. at 905.
                                 7          31.    Defendant’s website is replete with barriers, including but not limited
                                 8    to improperly ordered headings, which impede Plaintiff from accessing the goods
                                 9    and services of Defendant’s website. For example, Plaintiff could not use her screen
                                 10   reader to navigate the website’s headings in order to navigate to Defendant’s menu
                                 11   because the website’s heading elements are not in a sequentially-descending order.
                                 12   When a website’s heading elements are not in a sequentially-descending order,
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                                 13   screen readers cannot accurately convey the structure of the website to users,
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                                 14   making it impossible for users who rely on screen-readers, like Plaintiff, to use their
                                 15   screen readers to navigate the website as a sighted individual. Improperly ordered
                                 16   heading elements prevented Plaintiff from accessing the goods and services
                                 17   available on Defendant’s website. If Defendant had sufficiently coded the images
                                 18   on its website to contain the proper alternative text, Plaintiff could have been able
                                 19   to navigate Defendant’s menu as a sighted individual could.
                                 20         32.    Accordingly, Plaintiff was denied the ability to browse Defendant’s
                                 21   menu and ascertain what dishes are available at Defendant’s location because
                                 22   Defendant failed to have the proper procedures in place to ensure that content
                                 23   uploaded to the website contains the proper coding to convey the meaning and
                                 24   structure of the website and the goods and services provided by Defendant.
                                 25         DEFENDANT MUST REMOVE BARRIERS TO ITS WEBSITE
                                 26         33.    Due to the inaccessibility of the Defendant’s website, blind and
                                 27   visually impaired customers such as Plaintiff, who need screen-readers, cannot fully
                                 28   and equally use or enjoy the facilities and services Defendant offers to the public
                                                                               11
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                                 1    on its website. The access barriers Plaintiff has encountered have caused a denial
                                 2    of Plaintiff’s full and equal access in the past and now deter Plaintiff on a regular
                                 3    basis from accessing the website.
                                 4          34.    These access barriers on Defendant’s website have deterred Plaintiff
                                 5    from visiting Defendant’s physical location and enjoying it equal to sighted
                                 6    individuals. Plaintiff did intend to visit the Defendant’s location in the near future
                                 7    had Plaintiff been able to access Defendant’s website as a sighted person can.
                                 8          35.    If the website were equally accessible to all, Plaintiff could
                                 9    independently navigate the website and complete a desired transaction, as sighted
                                 10   individuals do.
                                 11         36.    Plaintiff, through Plaintiff’s attempts to use the website, has actual
                                 12   knowledge of the access barriers that make these services inaccessible and
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                                 13   independently unusable by blind and visually impaired people.
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                                 14         37.    Because simple compliance with WCAG 2.1 would provide Plaintiff
                                 15   with equal access to the website, Plaintiff alleges that Defendant engaged in acts of
                                 16   intentional discrimination, including, but not limited to, the following policies or
                                 17   practices: constructing and maintaining a website that is inaccessible to visually
                                 18   impaired individuals, including Plaintiff; failing to construct and maintain a website
                                 19   that is sufficiently intuitive so as to be equally accessible to visually impaired
                                 20   individuals, including Plaintiff; and failing to take actions to correct these access
                                 21   barriers in the face of substantial harm and discrimination to blind and visually
                                 22   impaired consumers, such as Plaintiff, as a member of a protected class.
                                 23         38.    The Defendant uses standards, criteria or methods of administration
                                 24   that have the effect of discriminating or perpetuating the discrimination against
                                 25   others, as alleged herein.
                                 26         39.    The ADA expressly contemplates the injunctive relief that Plaintiff
                                 27   seeks in this action. In relevant part, the ADA requires:
                                 28
                                                                        12
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                                 1          In the case of violations of … this title, injunctive relief shall include
                                            an order to alter facilities to make such facilities readily accessible to
                                 2          and usable by individuals with disabilities …. Where appropriate,
                                 3          injunctive relief shall also include requiring the … modification of a
                                            policy …. 42 U.S.C. § 12188(a)(2).
                                 4
                                 5          40.    Because Defendant’s website has never been equally accessible, and
                                 6    because Defendant lacks a corporate policy that is reasonably calculated to cause
                                 7    the Defendant’s website to become and remain accessible, Plaintiff invokes 42
                                 8    U.S.C. § 12188(a)(2) and seeks a permanent injunction requiring the Defendant to
                                 9    retain a qualified consultant acceptable to Plaintiff to assist Defendant to comply
                                 10   with WCAG 2.1 guidelines for Defendant’s website.             The website must be
                                 11   accessible for individuals with disabilities who use desktop computers, laptops,
                                 12   tablets, and smartphones. Plaintiff seeks that this permanent injunction require
                                      Defendant to cooperate with the agreed-upon consultant to: train Defendant’s
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                                 14   employees and agents who develop the website on accessibility compliance under
                                 15   the WCAG 2.1 guidelines; regularly check the accessibility of the website under
                                 16   the WCAG 2.1 guidelines; regularly test user accessibility by blind or vision
                                 17   impaired persons to ensure that the Defendant’s website complies under the WCAG
                                 18   2.1 guidelines; and develop an accessibility policy that is clearly disclosed on the
                                 19   Defendant’s website, with contact information for users to report accessibility-
                                 20   related problems and require that any third-party vendors who participate on the
                                 21   Defendant’s website to be fully accessible to the disabled by conforming with
                                 22   WCAG 2.1.
                                 23         41.    If Defendant’s website were accessible, Plaintiff could independently
                                 24   access information about the restaurant location, hours, services offered, and goods
                                 25   available for online purchase.
                                 26         42.    Although Defendant may currently have centralized policies regarding
                                 27   maintaining and operating Defendant’s website, Defendant lacks a plan and policy
                                 28   reasonably calculated to make Defendant’s website fully and equally accessible to,
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                                 1    and independently usable by, blind and other visually impaired consumers.
                                 2           43.    Defendant has, upon information and belief, invested substantial sums
                                 3    in developing and maintaining Defendant’s website, and Defendant has generated
                                 4    significant revenue from Defendant’s website. These amounts are far greater than
                                 5    the associated cost of making Defendant’s website equally accessible to visually
                                 6    impaired customers.
                                 7           44.    Without injunctive relief, Plaintiff will continue to be unable to
                                 8    independently use Defendant’s website, violating their rights.
                                 9                                         COUNT I
                                 10      VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42
                                 11                                U.S.C. § 12181 ET SEQ.
                                 12          45.    Plaintiff alleges and incorporates herein by reference each and every
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                                 13   allegation contained in paragraphs 1 through 44, inclusive, of this Complaint as if
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                                 14   set forth fully herein.
                                 15          46.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq.,
                                 16   provides: “No individual shall be discriminated against on the basis of disability in
                                 17   the full and equal enjoyment of the goods, services, facilities, privileges,
                                 18   advantages, or accommodations of any place of public accommodation by any
                                 19   person who owns, leases (or leases to), or operates a place of public
                                 20   accommodation.” 42 U.S.C. § 12182(a).
                                 21          47.    Under Section 302(b)(2) of Title III of the ADA, unlawful
                                 22   discrimination also includes, among other things: “a failure to make reasonable
                                 23   modifications in policies, practices, or procedures, when such modifications are
                                 24   necessary to afford such goods, services, facilities, privileges, advantages, or
                                 25   accommodations to individuals with disabilities, unless the entity can demonstrate
                                 26   that making such modifications would fundamentally alter the nature of such goods,
                                 27   services, facilities, privileges, advantages or accommodations”; and “a failure to
                                 28   take such steps as may be necessary to ensure that no individual with a disability is
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                                 1    excluded, denied services, segregated or otherwise treated differently than other
                                 2    individuals because of the absence of auxiliary aids and services, unless the entity
                                 3    can demonstrate that taking such steps would fundamentally alter the nature of the
                                 4    good, service, facility, privilege, advantage, or accommodation being offered or
                                 5    would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii). “A public
                                 6    accommodation shall take those steps that may be necessary to ensure that no
                                 7    individual with a disability is excluded, denied services, segregated or otherwise
                                 8    treated differently than other individuals because of the absence of auxiliary aids
                                 9    and services, unless the public accommodation can demonstrate that taking those
                                 10   steps would fundamentally alter the nature of the goods, services, facilities,
                                 11   privileges, advantages, or accommodations being offered or would result in an
                                 12   undue burden, i.e., significant difficulty or expense.” 28 C.F.R. § 36.303(a). In
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                                 13   order to be effective, auxiliary aids and services must be provided in accessible
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                                 14   formats, in a timely manner, and in such a way as to protect the privacy and
                                 15   independence of the individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).
                                 16         48.    Defendant’s location is a “public accommodation” within the meaning
                                 17   of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue
                                 18   from the sale of its amenities and services, privileges, advantages, and
                                 19   accommodations in California through its location, related services, privileges,
                                 20   advantages, and accommodations, and its website, https://www.theosawa.com/, is
                                 21   a service, privilege, advantage, and accommodation provided by Defendant that is
                                 22   inaccessible to customers who are visually impaired like Plaintiff.            This
                                 23   inaccessibility denies visually impaired customers full and equal enjoyment of and
                                 24   access to the facilities and services, privileges, advantages, and accommodations
                                 25   that Defendant makes available to the non-disabled public. Defendant is violating
                                 26   the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., in that Defendant
                                 27   denies visually impaired customers the services, privileges, advantages, and
                                 28   accommodations provided by https://www.theosawa.com/. These violations are
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                                 1    ongoing.
                                 2           49.    Defendant’s actions constitute intentional discrimination against
                                 3    Plaintiff on the basis of a disability in violation of the Americans with Disabilities
                                 4    Act, 42 U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is
                                 5    inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                 6    failed to take adequate actions to correct these barriers even after being notified of
                                 7    the discrimination that such barriers cause.
                                 8           50.    Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights
                                 9    set forth and incorporated therein, Plaintiff requests relief as set forth below.
                                 10                                        COUNT II
                                 11      VIOLATIONS OF THE UNRUH CIVIL RIGHTS ACT, CALIFORNIA
                                 12                              CIVIL CODE § 51 ET SEQ.
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                                 13          51.    Plaintiff alleges and incorporates herein by reference each and every
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                                 14   allegation contained in paragraphs 1 through 50, inclusive, of this Complaint as if
                                 15   set forth fully herein.
                                 16          52.    Defendant’s location is a “business establishment” within the meaning
                                 17   of the California Civil Code § 51 et seq. Defendant generates millions of dollars in
                                 18   revenue from the sale of its services in California through its location and related
                                 19   services, and https://www.theosawa.com/ is a service provided by Defendant that is
                                 20   inaccessible to customers who are visually impaired like Plaintiff.                 This
                                 21   inaccessibility denies visually impaired customers full and equal access to
                                 22   Defendant’s facilities and services that Defendant makes available to the non-
                                 23   disabled public. Defendant is violating the Unruh Civil Rights Act, California Civil
                                 24   Code § 51 et seq., in that Defendant is denying visually impaired customers the
                                 25   services provided by https://www.theosawa.com/. These violations are ongoing.
                                 26          53.    Defendant’s actions constitute intentional discrimination against
                                 27   Plaintiff on the basis of a disability in violation of the Unruh Civil Rights Act,
                                 28   California Civil Code § 51 et seq. in that: Defendant has constructed a website that
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                                 1    is inaccessible to Plaintiff; maintains the website in this inaccessible form; and has
                                 2    failed to take adequate actions to correct these barriers even after being notified of
                                 3    the discrimination that such barriers cause.
                                 4          54.      Defendant is also violating the Unruh Civil Rights Act, California
                                 5    Civil Code § 51 et seq. in that the conduct alleged herein likewise constitutes a
                                 6    violation of various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f)
                                 7    of the California Civil Code provides that a violation of the right of any individual
                                 8    under the ADA shall also constitute a violation of the Unruh Civil Rights Act.
                                 9          55.      The actions of Defendant were and are in violation of the Unruh Civil
                                 10   Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff is entitled to
                                 11   injunctive relief remedying the discrimination.
                                 12         56.      Plaintiff is also entitled to statutory minimum damages pursuant to
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                                 13   California Civil Code § 52 for each and every offense.
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                                 14         57.      Plaintiff is also entitled to reasonable attorneys’ fees and costs.
                                 15         58.      Plaintiff is also entitled to a preliminary and permanent injunction
                                 16   enjoining Defendant from violating the Unruh Civil Rights Act, California Civil
                                 17   Code § 51 et seq., and requiring Defendant to take the steps necessary to make
                                 18   https://www.theosawa.com/ readily accessible to and usable by visually impaired
                                 19   individuals.
                                 20                                  PRAYER FOR RELIEF
                                 21         WHEREFORE, Plaintiff respectfully requests that the Court enter judgment
                                 22   in her favor and against Defendant as follows:
                                 23         A.       A preliminary and permanent injunction pursuant to 42 U.S.C. §
                                 24                  12188(a)(1) and (2) and section 52.1 of the California Civil Code
                                 25                  enjoining Defendant from violating the Unruh Civil Rights Act and
                                 26                  ADA and requiring Defendant to take the steps necessary to make
                                 27                  https://www.theosawa.com/ readily accessible to and usable by
                                 28                  visually impaired individuals;
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                                 1           B.    An award of statutory minimum damages of $4,000 per offense
                                 2                 pursuant to section 52(a) of the California Civil Code.
                                 3           C.    For attorneys’ fees and expenses pursuant to California Civil Code §§
                                 4                 52(a), 52.1(h), and 42 U.S.C. § 12205;
                                 5           D.    For pre-judgment interest to the extent permitted by law;
                                 6           E.    For costs of suit; and
                                 7           F.    For such other and further relief as the Court deems just and proper.
                                 8                             DEMAND FOR JURY TRIAL
                                 9           Plaintiff, on behalf of herself, hereby demands a jury trial for all claims so
                                 10   triable.
                                 11
                                 12   Dated: June 21, 2022                          Respectfully Submitted,
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                                                                                    /s/ Thiago M. Coelho
                                 14                                                 Thiago M. Coelho
                                 15                                                 Binyamin I. Manoucheri
                                                                                    WILSHIRE LAW FIRM
                                 16                                                 Attorneys for Plaintiff
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